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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION


UNITED STATES OF AMERICA        :
                                :
     vs.                        : CRIMINAL NO. 5:09-CR-43(HL)
                                :
MAURICE KEVIN HILL              :
_______________________________ :


                  GOVERNMENT'S MOTION FOR A DETENTION HEARING

          COMES NOW the United States of America, by and through its attorney, the United

States Attorney for the Middle District of Georgia, and files this motion and requests the

defendant in the above-styled case be detained pursuant to 18 U.S.C. § 3142(e) and (f),

and in support of said motion shows the following:

1.        Eligibility of Case.

          This case is eligible for a detention order because this case involves (check all that

apply):

          :      Crime of Violence (18 U.S.C. § 3156)


          9      Maximum sentence of life imprisonment or death


          9      10 + year drug offense


          9      Felony, with two prior convictions in the above categories


          :      Serious risk the defendant will flee


          :      Serious risk of obstruction of justice
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2.    Reason for Detention.

      The Court should detain defendant because there are no conditions of release which

will reasonable assure (check one or both):

      :      Defendant's appearance as required


      :      Safety or any other person and the community

3.    Rebuttable Presumption.

      The United States will invoke the rebuttable presumption against defendant under

18 U.S.C. § 3142(e). (If yes) The presumption applies because (check one or more):

      9      Probable cause to believe defendant has been convicted of a Federal or

             State offense described in subsection (f)(1) of 18 U.S.C. §3142.

      9      Probable cause to believe defendant committed 10 + year drug offense or an

             offense in which a firearm was used or carried under 18 U.S.C. § 924(c).

      9      Previous conviction for "eligible" offense committed while on pretrial bond.


      9      A period of five years has not elapsed from defendant's conviction or release

             from imprisonment for the offense described above.

4.    Time for Detention Hearing.

      The United States requests the Court conduct the detention hearing:

      9      At the initial appearance.


      :      After continuance of three (3) days (not more than three).

      The United States requests leave of Court to file a supplemental motion with
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additional grounds or presumption for detention should this be necessary.

      Respectfully submitted, this 19th day of August, 2009.

                                        G.F. PETERMAN, III
                                        ACTING UNITED STATES ATTORNEY



                                 BY:    s/MICHAEL T. SOLIS
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                                        Assistant U.S. Attorney
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                              CERTIFICATE OF SERVICE


       I, MICHAEL T. SOLIS, Assistant United States Attorney, do hereby certify that I have

this date electronically filed the within and foregoing Government's Motion for Detention

Hearing with the Clerk of the Court using the CM/ECF system. I also certify that I have

served the Motion upon the Defendant by hand delivering a copy of said motion to him and

his attorney.

       THIS 19th day of August, 2009.



                                         G.F. PETERMAN, III
                                         ACTING UNITED STATES ATTORNEY



                                  BY:    s/MICHAEL T. SOLIS
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